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                                   UNITED STATES BANKRUPTCY COURT
                                             Northern DISTRICT OF Texas
                                                  Case number 19-34054 sgj11


In re: Highland Capital Management, LP                            §                 Case No. 19-34054
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/31/2022                                                            Petition Date: 10/16/2019



Plan Confirmed Date:02/22/2021                                                       Plan Effective Date: 08/11/2021


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ Zachery Z. Annable                                                  Zachery Z. Annable, Hayward PLLC
Signature of Responsible Party                                           Printed Name of Responsible Party
04/21/2022
Date                                                                    10501 N. Central Expressway, Suite 106
                                                                        Dallas TX 75231
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name Highland Capital Management, LP                                                             Case No. 19-34054


Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                      $28,056,199             $76,788,959
 b. Non-cash securities transferred                                                                         $0                    $0
 c. Other non-cash property transferred                                                                     $0             $5,194,652
 d. Total transferred (a+b+c)                                                                     $28,056,199             $81,983,611

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0   $33,005,136             $0    $33,005,136
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Pachulski Stang Ziehl & Jones Lead Counsel                             $0   $24,312,860             $0    $24,312,860
        ii       Development Specialists, Inc. Financial Professional                   $0    $5,765,448             $0     $5,765,448
        iii      Kurtzman Carson Consultants Other                                      $0    $2,054,716             $0     $2,054,716
        iv       Hayward & Associates PLLC          Local Counsel                       $0      $872,112             $0       $872,112
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        xiii
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        xv
        xvi
        xvii
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       ci


                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                       $0    $7,604,472       $295,492    $7,604,472
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Hunton Andrews Kurth LLP         Other                                $0    $1,149,807             $0    $1,149,807
       ii        Foley Gardere, Foley & Lardne Other                                   $0      $629,088             $0       $629,088
       iii       Deloitte                         Financial Professional               $0      $553,413       $295,492       $553,413
       iv        Mercer (US) Inc.                 Other                                $0      $204,767             $0       $204,767
       v         Teneo Capital, LLC               Financial Professional               $0    $1,364,823             $0    $1,364,823
       vi        Wilmer Cutler Pickering Hale Other                                    $0    $2,650,937             $0    $2,650,937


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       vii      Carey Olsen                  Other                  $0   $280,264          $0       $280,264
       viii     ASW Law                      Other                  $0     $4,976          $0         $4,976
       ix       Houlihan Lokey Financial Advi Other                 $0   $766,397          $0       $766,397
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c.          All professional fees and expenses (debtor & committees)                        $0     $60,171,929        $295,492 $60,171,929

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                       % Paid of
                                                  Payments           Paid Current                                                  Allowed
                                                 Under Plan            Quarter          Paid Cumulative       Allowed Claims        Claims
 a. Administrative claims                                      $0                 $0                    $0              $15,750          0%
 b. Secured claims                                    $5,843,261                  $0                    $0            $5,886,018         0%
 c. Priority claims                                        $16,498           $26,866               $47,793              $47,793        100%
 d. General unsecured claims                       $205,144,544              $750,000            $6,918,473         $388,622,019         2%
 e. Equity interests                                           $0                 $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                               Yes      No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                     Yes      No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ James Seery                                                       James Seery
Signature of Responsible Party                                         Printed Name of Responsible Party
CEO                                                                    04/21/2022
Title                                                                  Date




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                                                   Non-Bankruptcy Table 1-50




                                                  Non-Bankruptcy Table 51-100




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